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     Co-Lead Interim Counsel
 9
10                                 UNITED STATES DISTRICT COURT
                                 NORTHERN DISTRICT OF CALIFORNIA
11
                                      SAN FRANCISCO DIVISION
12
13
     IN RE INTUIT FREE FILE LITIGATION           Case No. 3:19-cv-02546-CRB
14
     This Document Relates To:                   NOTICE OF VOLUNTARY DISMISSAL
15   All Actions                                 WITH PREJUDICE PURSUANT TO
16                                               FEDERAL RULE OF CIVIL PROCEDURE
                                                 41(a)
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                       NOTICE OF VOLUNTARY DISMISSAL WITH PREJUDICE
                                  Case No.: 3:19-cv-025460-CRB
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 1   TO THE COURT AND ALL PARTIES AND THEIR COUNSEL OF RECORD:
 2          Pursuant to Rule 41(a) of the Federal Rules of Civil Procedure, Plaintiffs Andrew Dohrmann,
 3   Joseph Brougher, and Monica Chandler hereby voluntarily dismiss all claims against Defendant Intuit
 4   Inc. and this entire action with prejudice. Defendant has not served an answer or motion for summary
 5   judgment in this case, and the Court has not certified a class. Therefore, dismissal is appropriate without
 6   a court order. Fed. R. Civ. P. 41(a)(1) (permitting unilateral voluntary dismissal without court approval
 7   until Defendant files an answer or a motion for summary judgment); Fed. R. Civ. P. 23(e) (requiring
 8   court approval of voluntary dismissals only for certified classes).
 9
10   Dated: May 26, 2021                           Respectfully submitted,
11
                                                   By: /s/ Daniel C. Girard
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